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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION


  UNITED STATES OF AMERICA,

  v.                                                              Case No. 8:12-cr-205-T-17MAP

  NATHANIEL HARRIS, et al.
  ____________________________________/


                              REPORT AND RECOMMENDATION

          THIS CAUSE is before the undersigned on the Objection filed by Defendant Napoleon

  Harris (Doc. 1022); the Objection filed by Defendant Jerry W. Green, Jr. (Doc. 1023); and

  Objection filed Defendant Deonte Martin (Doc. 1038), which have been construed as motions for

  reconsideration of the Report and Recommendation filed on July 25, 2016 (Doc. 1017). A rehearing

  on these matters was conducted on July 28, 2016.

          For the reasons set forth herein, I recommend that the construed motions for reconsideration

  (Docs. 1022, 1023, and 1038) also be denied.

                                                   I.

          On July 21, 2016, the undersigned conducted a hearing on Defendant Napoleon Harris’s

  Amended Motion to Suppress Evidence Resulting From Use of Cell Site Simulator (Doc. 980), as

  joined and supplemented by Defendants Deonte Jamal Martin (Doc. 991) and Jerry W. Green, Jr.

  (Doc. 992). In short, Defendants contended that law enforcement officers from Manatee County

  conducted illegal realtime tracking of their cell phones. They urge all such realtime tracking

  evidence and evidence derived therefrom should be suppressed. The Government opposed. (Doc

  990).

          Following the hearing, the Government submitted an additional response claiming that
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  Napoleon Harris’s motion to suppress was moot. (Doc. 1010). The same day, Napoleon Harris filed

  a Second Motion to Suppress, disputing the mootness argument asserted by the Government. (Doc.

  1012). The single page motion argued (in full) that:

             [T]o the extent the Government intends to introduce evidence that it
             characterizes as ‘historical cell tower sector data’ the issue is not moot because
             those records are only ‘historical’ as a result of the constitutional violation that
             occurred when agents accessed the Sprint L-site and archived the precise
             geographic information. Thus, the government’s characterization of the
             archived data as ‘historical’ is a direct and derivative use of the constitutional
             violation, which is impermissible under United States v. Lambis, ___ F. Supp.
             3d___, Docket No. 15-cr-00734-WHP (N.D.N.Y., Jul. 12, 2016).

  Id.

          I issued a Report and Recommendation on July 25, 2016, finding, in pertinent part, that the

  Defendants failed to establish standing to contest the searches at issue and recommending that the

  motions to suppress be denied. (Doc. 1017). The recommendation was based largely on the factual

  finding that “Defendants point only to the detectives’ assertions in the pen/trap applications

  suggesting the Defendants’ association with the cell phones at issue” and that such was inadequate

  to establish standing. Id. at 8.

          Napoleon Harris now argues that my conclusion of no standing is incorrect because the

  pen/trap applications attached to the amended motion to suppress were not just a government

  “theory” of possession, but were based on sworn testimony of the officers who signed the

  applications attesting that the phone numbers at issue belonged to Napoleon Harris. He urges that

  the fact that each of the orders issued by the state court judge expressly named Napoleon Harris as

  a target of the data to be obtained by law enforcement agents is dispositive of the standing issue.

  Citing United States v. Sereme, No. 2:11-CR-97-FTM-29SPC, 2012 WL 1757702, at *9 (M.D. Fla.

  2012), report and recommendation adopted, 2:11-CR-97-FTM-29SPC, 2012 WL 1757271 (M.D.

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  Fla. 2012), aff’d sub nom. United States v. Hyppolite, 609 Fed. App’x. 597 (11th Cir. 2015), Harris

  argues that the proper framework for standing is that of “aggrieved person” under the Stored

  Communications Act (SCA), 18 U.S.C. § 2701, et seq. He contends that because the orders were

  directed at tracking his movements, he is an aggrieved person with standing to challenge the

  searches. Finally, Harris disputes the applicability of the cases cited by this Court and argues that

  the cases actually support his assertion of standing. (Doc. 1022).

         Jerry Green has also objected to the Report and Recommendation, arguing the undersigned

  erred in finding that he relied solely on the detectives’ statements in the pen/trap applications to

  show possession, use, or control of the cell phones. Rather, he notes that he stated in his motion that

  the cell phone number 941-840-9395 was his number.1 Further, he claims that the applications

  indicated that this cell phone and two others cell phones were obtained by law enforcement from a

  vehicle previously driven by Defendant, which evidences his possession. Moreover, Detective Petta

  testified that realtime location information for cell phone number 941-405-2828 had been used to

  track Defendant on at least one occasion and led to his arrest. Green claims that this constitutes

  “other evidence” upon which his standing is based. Moreover, he claims that he never disclaimed

  the cell phones, the Government never presented any evidence that he disclaimed an interest, and

  merely using an alias for the subscriber does not automatically deprive him of an expectation of

  privacy. Finally, Defendant Green asserts that the undersigned erred in focusing on standing in the

  first place. Because law enforcement used the cell phone signals to physically track and locate him,

  he argues such is a search requiring a warrant based on probable cause. (Doc. 1023).



         1
           Though not presented in the motion or at the prior hearing, Defendant Green now claims
  that this number was actually registered to his girlfriend, Tiana Lyle.

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         Deonte Martin filed an objection to the Report and Recommendation as well. Martin relies

  on the precedent presented by Napoleon Harris, asserting that “it is apparent that the court must

  revisit Defendant Martin’s Motion to Suppress and Adoption of Napoleon Harris’ Motion to

  Suppress.”2 (Doc. 1038).

         The Government responds once again asserting that it does not intend to present any real

  time cellular location information against Defendants Harris or Green regarding the murder of

  Carlos Jurado. Rather, it only plans to present cell tower sector data, which consists of business

  records of Sprint and thus is not subject to the proscriptions of the Fourth Amendment. The

  Government urges that Sereme is distinguishable on this basis and factually and it cites instead

  United States v. Davis, 785 F.3d 498, 511 (11th Cir. 2015) for the proposition that a defendant does

  not have standing to challenge production of phone records containing cell tower information and

  that such production does not violate the Fourth Amendment. With regard to Jerry Green, the

  Government asserts that he has no standing with respect to the number 941-405-2158, because there

  was no subscriber and the account was billed to “LOL LOL.”3 Apart from asserting that it will not

  introduce realtime location information against Green, the Government does not specifically address

  the 941-840-9395 number in its response. As for Deonte Martin, the Government claims it does not

  intend to present any location information at all for the cellular telephone bearing number 941-405-

  2330 for the Jurado murder. Rather, it has merely introduced phone toll records showing that a


         2
          Martin further argues that, despite the Government’s contention at hearing that his
  standing has already been addressed by a prior Report and Recommendation from Judge Pizzo
  (Docs. 734, 811), the standing addressed previously is a separate consideration from the instant
  dispute. I believe Martin correct in his assertion.
         3
         This phone number appears a typo as Green challenges only the 941-840-9395 and the
  941-405-2828 numbers.

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  cellular telephone in use by the shooter, Jerry Green, was in contact with 941-405-2330 shortly after

  the murder.4 Regardless of these Defendants’ standing, the Government argues that the Stored

  Communications Act does not provide for suppression of evidence for any alleged wrong. (Doc.

  1035).

                                                   II.

           For the following reasons, the motions should be denied.5

                                                   A.

                   Mootness as to Defendants Napoleon Harris and Jerry Green

           As a preliminary matter, the motions to suppress are moot as to Defendants Napoleon Harris

  and Jerry Green. The Government has repeatedly and unequivocally stated that it will not introduce

  realtime location information obtained on these pen/trap applications as against these two

  Defendants on the Jurado murder.

           While I continue to agree with the Defendants that law enforcement’s seizure of precise

  realtime location information by monitoring signals from cell phones in this manner is a search

  subject to the proscriptions of the Fourth Amendment (see Doc. 1017 at 6), the realtime data is not

  being used by the Government against these two Defendants. Simply put, there is nothing to

  suppress.


           4
          Though not addressed in its response, as discussed below, the Government stated at the
  hearing that does intend to use a small amount of realtime location information for this phone
  against Deonte Martin relative to the Coleman murder.
           5
          It now appears that the Government’s initial contention that these motions were
  untimely was accurate, given that a volume of this information was provided before the motion
  deadline. While this suggests the Defendant could have filed their motions consistent with the
  Court’s deadline, given the Government’s concession at the previous hearing, I find the
  timeliness argument was waived.

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         Instead, the Government proffers that it will only be using “historical cell tower sector data”

  against Harris and Green, which it has subpoenaed for trial. Under Eleventh Circuit precedent, the

  receipt of such business records is not a search, and Defendants have no standing to object on that

  basis. See United States v. Davis, 785 F.3d 498, 511 (11th Cir. 2015). Regardless of the issues

  surrounding the realtime tracking information obtained under these pen/trap applications, the

  Government demonstrates such will not be used against Harris or Green.

         To the extent Defendant Harris argues in his Second Amended Motion to Suppress that the

  issues are not moot as to him because the historical cell tower records to be used by the Government

  “are only ‘historical’ as a result of the constitutional violation that occurred when agents accessed

  the Sprint L-site and archived the precise geographic information” (Doc. 1012), the argument is

  unpersuasive. As clarified at the rehearing, the Government obtained this historical data from three

  separate sources – through the applications appended to Defendants’ instant motions; through

  separate § 2703 application(s); and in addition it has subpoenaed a representative of Sprint to bring

  the records for testimony at trial. While defense counsel speculates that any separate § 2703

  application(s) relied upon tainted information obtained from the realtime cell phone searches,

  Defendant Harris has not provided the Court with copies of such application(s) nor has any

  Defendant presented any evidence supporting the contention that such were tainted by the illegally

  seized realtime location data. Thus, I find Defendant’s derivative use argument unsupported and

  unsubstantiated. On the available record, the historic cell tower data to be offered against Harris and

  Green is derived from an independent source untainted by any realtime search. As such, I find the

  motions to suppress moot as to Defendants Harris and Green.

         Defendant Martin’s circumstances are more problematic.              For this Defendant, the


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  Government states that it does intend to introduce realtime location evidence against him. The

  Government proffers that it will present location evidence from “two pings” derived from the

  realtime search of the cell phone number 941-405-2330, which it will argue place Martin at or near

  the location of the Brent Coleman murder. Thus, I do not conclude that Defendant Martin’s motion

  to suppress is moot and it should not be denied on that basis.

                                                  B.

                                               Standing

         As for Defendants Harris and Green, I stand by my conclusions made in the prior Report and

  Recommendation. They fail to demonstrate an actual/subjective expectation of privacy in the cell

  phones at the times of these searches. Instead, they rely upon the allegations set forth in the

  applications, which case law suggests is insufficient. A review of the allegations set forth in the

  pen/trap applications at issue follows.

  Napoleon Harris:

         In his Amended Motion to Suppress Evidence (Doc. 980), Napoleon Harris submits three

  pen/trap applications and the corresponding orders on same. (Docs. 980-1 - 980-6).

         The first application, dated March 26, 2013, relates to phone number 941-405-2330. (Doc.

  980-1). In this application, the detectives link Harris to this cell phone number, asserting:

         •       The number has been called by some of the members of the criminal organization
                 while in Manatee County Jail. In monitoring these jail phone calls, the co-affiant
                 believes, based on the voice, that Napoleon Harris is the person utilizing the number.
                 Id. at ¶ 6;

         •      The number was discovered in a cell phone phonebook as part of this investigation
                listed as “Pole,” which is one of Napoleon Harris’s street names. Id.
         While not suggesting any link to Harris, the application suggests that the cell phone number

  has been linked to four other cell phones being monitored by law enforcement as part of law

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  enforcement’s investigation. Id.

         The second application, dated May 10, 2013, relates to phone number 941-545-8003. (Doc.

  980-3). In this application, the detectives link Harris to this cell phone number, asserting:

         •       The number has been called by some of the members of the criminal organization
                 while in Manatee County Jail. In monitoring these jail phone calls, a co-affiant
                 believes, based on the voice, that Napoleon Harris is the person utilizing the number.
                 Id. at ¶ 6;

         •       The number was discovered in a cell phone phonebook as part of this investigation
                 listed as “Pole,” which is one of Napoleon Harris’s street names. Id. at ¶ 11.

         Again, the application generally suggests that the cell phone number has been linked to four

  other cell phones being monitored by law enforcement as part of its investigation. Id.

         The third application, dated March 24, 2014, relates to phone number 941-448-4152. (Doc.

  980-5). In this application, the detectives link Harris to this cell phone number, asserting:

         •       Jerry Green, who is identified as a member of the organization and was incarcerated
                 for murder, made three phone calls from jail to this number. In monitoring these jail
                 phone calls, a co-affiant believes, based on the voice, that Napoleon Harris is the
                 person utilizing the number. Id. at ¶ 6.

  Jerry Green:

         In support of his adopted motion to suppress, Jerry Green submits two pen/trap applications

  and the corresponding orders on same. (Docs. 992-2, 992-3).

         The first application as to Green, dated May 2, 2013, relates to phone number 941-840-9395.

  (Doc. 992-2). In this application, the detectives link Green to this cell phone number, asserting:

         •       On January 21, 2013, Jerry Green was arrested by St. Petersburg Police and provided
                 this number to police as his cell phone number. Id. at ¶ 5.

         The second application related to Green, dated May 6, 2013, relates to phone number 941-

  405-2828. (Doc. 992-3). In this application, the detectives link Green to this cell phone number,



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  asserting:

         •       On April 10, 2013, Manatee County Sheriff attempted to conduct a traffic stop on a
                 red Volkswagen, and the driver fled on foot to 529 32nd Ave. E. Jerry Green was
                 found hiding in this residence. It is believed that Green was the driver of the rental
                 car, but no one could identify him as the individual fleeing from the car. A search
                 of the car revealed three cell phones, one of which, the target phone number (941-
                 405-2828), remains active. Id. at ¶ 7;

         •       Since the Volkswagen was searched, the number remains active and is assigned to
                 the same account holder. It is believed to be in the possession of Jerry Green. Id.
                 at ¶ 8.

  Deonte Martin:

         The Application and Order referred to by Defendant Deonte Martin, dated July 12, 2013, and

  July 15, 2013, were not attached to his adopted motion, but were filed previously by the Government

  and are part of the record before the Court. (Doc. 637-1).

         The application, dated July 12, 2013, relates to phone number 941-405-2330. Id. In this

  application, the detectives link “Deonta Ackerman-Martin”6 to this cell phone number, asserting:

         •       At the time a previous court order was granted, affiants believed that it was being
                 used by Napoleon Harris. Since the last order, affiants have identified Deonta
                 Ackerman-Martin, an associate of Napoleon Harris, as the person in control of this
                 number. (Doc. 673-1 at ¶ 6);

         •       Recently, members of the Special Investigations Tactical Unit called the number and
                 an unknown male answered the phone. The male agreed to sell narcotics to the
                 detective, and the deal was captured on audio/video. The male selling narcotics was
                 identified as Martin. Three such deals have occurred by calling this number and
                 Martin was identified as the person selling the narcotics each time. Id. at ¶ 7.

  The Suppression Hearings:

         At hearing on July 21, 2016, Detective Joseph Petta, the co-affiant on each of the

  applications was the only witness called. I previously summarized Detective Petta’s testimony as

         6
          According to the Second Superseding Indictment (Doc. 82), Deonta Jamal Akerman
  Martin and Deonta Martin are aliases used by Deonte Jamal Martin.

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  follows:

             Detective Petta testified that law enforcement obtained pen/trap authorizations
             for the cell phone numbers at issue in order to obtain precise realtime location
             information that was used to track the whereabouts of these phones, to identify
             those associated with Defendants, and to identify locations of interests. He
             denies use of a Stingray or similar device, but acknowledges that he used a
             website offered to law enforcement by Sprint (the “L-site”) to obtain such
             information. Such realtime information was available every fifteen minutes
             twenty-four hours a day. He further acknowledges that law enforcement used
             the realtime information to track the cellular phones, which they believed were
             used by this group. By his account, such applications were the usual way to
             obtain such realtime location information at the time these applications were
             submitted.

             ***
             According to Detective Petta, the website allows law enforcement to log on
             and obtain realtime or contemporaneous and highly precise longitudinal and
             latitudinal information linked to GoogleMaps. A spreadsheet of all such
             location data is made available to law enforcement. Detective Petta testified
             that the pen/trap orders were not used for any other purpose than to obtain the
             realtime location of the cell phones.

  (Doc. 1017 at 3-4).

         The averments in the various pen/trap applications were not challenged. No exhibits were

  admitted into evidence, and none of the Defendants testified.

         At the rehearing on July 28, 2016, counsel for Defendants essentially repeated their prior

  contentions and arguments.       Napoleon Harris, citing the Sereme decision and the Stored

  Communications Act, 18 U.S.C. § 2711, urged that he is an “aggrieved person” by reason of being

  identified as the person against whom the realtime location information under these pen/trap

  applications was sought and thus he has standing. Defendants Green and Martin adopted this

  argument. Mr. Green urged the pen/trap applications provided more specific information to link him

  to the cell phones attributed to him. So did Mr. Martin.

         The Government reiterated that it does not intend to introduce any realtime location


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  information for Defendants Napoleon Harris or Jerry Green. In relation to these two Defendants,

  it seeks only to introduce the historical cell tower sector data. It urged that the Sereme decision is

  distinguishable on its facts and that United States v. Davis is controlling regarding its access and use

  the historical cell tower data. Moreover, it asserts this evidence is not derivative evidence from the

  realtime tracking of the cell phones but will be introduced by a witness from Sprint who has been

  subpoenaed to bring such historical records with him/her to the trial.

           With regard to Defendant Martin, the Government proffered that it does intend to present

  select realtime location data related to “two pings,” which they urge will place Martin at or near the

  location of the Brent Coleman murder. Hedging on its prior concession, it now suggests that the

  application relating to the phone associated with Defendant Martin may provide probable cause for

  a realtime search7 and in any event the good faith exception applies.

           Again, no exhibits were admitted into evidence at the rehearing and none of the Defendants

  testified.

  Standing as to Defendants Harris and Green:

           As for Defendants Harris and Green, in addition to the mootness issue addressed above, the

  renewed arguments on standing are unpersuasive.

           First, despite urging to the contrary, they both rely solely on the averments in the pen/trap

  applications to establish their standing. As previously noted, the burden is on the defendant to show



           7
            Previously, the Government conceded the pen/trap applications did not provide probable
  cause.
         Counsel for Defendant Martin conceded at July 28, 2016, hearing that the allegations in
  the application relating to Martin were stronger, but stopped short of stating that such would
  support probable cause. Regardless, he claims that the issuing court did not review the
  application in the context of a probable cause determination and the good faith exception would
  not apply.

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  his actual expectation of privacy in the matter searched. Neither Defendant offers other evidence

  to show that at the time of these searches they had an actual expectation of privacy in the cell

  phones. The averments in the applications show only that at one time they used or may have used

  one of more of the cell phones. Considering all the circumstances, I find these averments

  insufficient to show Defendants use of or connection with the cell phones during the period of these

  searches. Moreover, as discussed below, the Sereme decision is instructive and demonstrates that

  these averments alone are insufficient.8

         As for these Defendants’ argument that they have standing because they were the express

  target of the intended searches and accordingly are “aggrieved persons” under the SCA, I read the

  law differently.

         Defendants claim that they are “aggrieved parties” under the SCA and thus have standing

  to seek the exclusion of the realtime location evidence from the illegal searches. However, such

  conclusion does not follow and is unsupported by the law. Pursuant to the SCA, an “aggrieved

  person” as “a person who was a party to any intercepted wire, oral, or electronic communication or

  a person against whom the interception was directed.” 18 U.S.C. § 2510(11). Here, neither

  Defendant demonstrates that they were a party to such intercepted communication. They can claim

  that they were the target of the inception, but that alone is not enough to show standing under the

  Fourth Amendment.

         “Under the SCA, a victim of improper data collection has several remedies available, but

  suppression of evidence is not one of them. See 18 U.S.C. §§ 2707, 2708, 2712.” United States v.

         8
          As for Defendant Green, he admits one cell phone is his girlfriend’s and, contrary to his
  argument, the anecdotal information about the red VW suggests that he was attempting to
  separate himself from the cell phones found in the car after he apparently fled the vehicle and hid
  from the police.

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  Madison, No. 13-14541, 2016 WL 692106 at *1 (11th Cir. Feb.22, 2016) (citing United States v

  Thompson, 936 F.2d 1249, 1251(11th Cir. 1991) for the proposition that “unless the statute at issue

  provides for exclusion, we do not apply the exclusionary rule to non-constitutional violations of

  law”). Here, Defendants seek to exclude evidence seized in an illegal search. That remedy is not

  found in the SCA, but rather in the Fourth Amendment. To prevail on such remedy, a defendant

  must demonstrate both his standing and an illegal search, consistent with the Fourth Amendment

  law.

         As explained by the district court in United States v. Martin:

            Section 2518(10)(a) of Title III states that any “aggrieved person” may move
            to suppress the contents of any wire or oral communication intercepted
            pursuant to Title III, or any fruits derived therefrom, on the grounds that the
            communication was unlawfully intercepted or was not made in conformity
            with the authorizing order. 18 U.S.C. § 2518(10)(a)(I)-(iii). An “aggrieved
            person” for Title III purposes is one who is either (1) a party to any intercepted
            communication, or (2) a person against whom the interception was directed.
            Id. § 2510(11). Although Title III contains this express standing provision,
            courts have long recognized that Congress’s intent was to apply the existing
            law of Fourth Amendment standing to wiretap cases. United States v. Scasino,
            513 F.2d 47, 50 (5th Cir. 1975) (quoting Alderman v. United States, 394 U.S.
            165, 89 S.Ct. 961, 22 L.Ed.2d 176 (1969)); see S.Rep. No. 1097, 90th Cong.,
            2d Sess. Relying on this Congressional intent, courts continue to construe
            Title III standing in accordance with standing requirements applied to
            suppression claims under the Fourth Amendment. See, e.g., United States v.
            Gallo, 863 F.2d 185, 192 (2d Cir.1988) (citing Alderman, 394 U.S. at 175-76
            & n. 9, 89 S.Ct. at 967–68 n. 9; S.Rep. No. 1097, 90th Cong., 2d Sess).
            Accordingly, one does not become an “aggrieved person” under Title III solely
            by the introduction of damaging evidence. United States v. Garcia, 1991 WL
            120239 (S.D.N.Y. June 21, 1991) (citing Gallo, 863 F.2d at 192; Alderman,
            394 U.S. at 171-72, 89 S.Ct. 961). But see United States v. Marcello, 508
            F.Supp. 586, 602 n.6 (E.D. La. 1981).

  169 F. Supp. 2d 558, 563-64 (E.D. La. 2001).

         Defendants claim to be aggrieved person because they were the target of illegal searches.

  But the target theory of standing was long ago rejected by the Supreme Court. See Rakas v. Illinois,


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  439 U.S. 128 (1978) (rejecting a target theory and setting forth a standard requiring the defendant

  to establish a legitimate expectation of privacy). In sum, while these Defendants were intended

  targets of the realtime tracking, such does not confer standing under Fourth Amendment principles

  and the SCA provides them no relief.

         The decision in United States v. Sereme does not dictate a different conclusion. First, the

  facts in Sereme are significantly distinguishable. In that case, realtime tracking of a cell phone was

  accompanied by realtime investigation by law enforcement. That investigation lead to a traffic stop

  of a vehicle in which Sereme and the cell phone were located. A search of Sereme’s person lead to

  the discovery of cocaine. On his later motion to suppress, the court there found standing by

  reference to the SCA. But by any reasonable reading the facts, the ruling on standing was correct

  under the Fourth Amendment.         The relationship between the seizure of realtime location

  information, the stop of the vehicle carrying Sereme and the cell phone, and the further seizure of

  drugs was patently clear. While the court found standing by reference to the SCA and the

  conclusion that Sereme was an aggrieved person thereunder, the conclusion was entirely consistent

  with Fourth Amendment principles. Given the significantly different facts in the instant case, I do

  not find Sereme as authority for finding of standing in this matter.

         In sum, I stand by my initial determination that Defendants Harris and Green lack standing.

  Standing as to Defendant Martin:

         Defendant Martin’s standing is, upon further review, a closer matter. As noted above, the

  later pen/trap application on the 941-405-2330 phone number demonstrated Martin’s use of the cell

  phone in connection with three undercover drug sales shortly before the application. The seizure

  of the realtime location information was later found to place the phone in the vicinity of the Coleman

  homicide, and the Government intends to argue at trial that the circumstances indicate the phone was

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  carried/used by Martin at the time. In these circumstances, I think that the Government is hard-

  pressed to deny standing, and I think it best to recede from my earlier conclusion as to Martin on the

  matter of standing.

         However, as addressed below, the ultimate conclusion that the motion to suppress should be

  denied remains unchanged. As suggested in my prior Report and Recommendation (Doc. 1017),

  the Government argues that even if the Defendants have standing and even if the search violated the

  Fourth Amendment, suppression of the evidence is inappropriate because the officers acted in good

  faith on authorizations from judges made consistent with the established practice at that time.

                                                    C.

                                      The Good Faith Exception

         The exclusionary rule is “a judicially created remedy designed to safeguard Fourth

  Amendment rights generally through its deterrent effect....” United States v. Calandra, 414 U.S.

  338, 348 (1974). As now understood and applied, the exclusion of evidence is an “extreme

  sanction” to be used only as a “last resort.” Herring v. United States, 555 U.S. 135, 140 (2009).

  Thus, a Fourth Amendment violation, in and of itself, does not require necessarily the exclusion of

  evidence. Id. “To trigger the exclusionary rule, police conduct must be sufficiently deliberate that

  exclusion can meaningfully deter it, and sufficiently culpable that such deterrence is worth the price

  paid by the justice system.” Id. at 144. “[T]he exclusionary rule serves to deter deliberate, reckless,

  or grossly negligent conduct....” Id. Moreover, there are exceptions to this judicially created

  remedy and one such exception to exclusion is the Leon good faith exception.

         In United States v. Leon, 468 U.S. 897, 922 (1984), the Supreme Court concluded that “the

  marginal or nonexistent benefits produced by suppressing evidence obtained in objectively

  reasonable reliance on a subsequently invalidated search warrant cannot justify the substantial costs

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  of exclusion.” Thus, an officer’s objectively reasonable reliance on a magistrate’s determination

  of probable cause will render the application of the of the extreme sanction of exclusion

  inappropriate.

          The “good-faith inquiry is confined to the objectively ascertainable question whether a

  reasonably well trained officer would have known that the search was illegal despite the magistrate's

  authorization. In making this determination, all of the circumstances ... may be considered.” Id. at

  922, n.23.

          Leon’s good faith exception does not apply where: (1) the magistrate judge in issuing a

  warrant was misled by information in an affidavit that the affiant knew was false or would have

  known was false except for his reckless disregard of the truth; (2) the issuing magistrate judge

  wholly abandoned her judicial role; (3) the affidavit supporting the warrant is so lacking in indicia

  of probable cause as to render official belief in its existence entirely unreasonable; and (4)

  depending upon the circumstances of the particular case, a warrant is so facially deficient – i.e., in

  failing to particularize the place to be searched or the things to be seized – that the executing officers

  cannot reasonably presume it to be valid. United States v. Robinson, 336 F.3d 1293, 1296 (11th Cir.

  2003); United States v. Martin, 297 F.3d 1308, 1312-13 (11th Cir. 2002).

          Pertinent to this case, courts have extended the good faith exception to situations where

  officers are called upon to interpret or rely upon an external source of authority such as a statute,

  which later turns out to be invalid or not to authorize the action taken. See, e.g., Illinois v. Krull, 480

  U.S. 340, 349-50 (1987); United States v. Williams, 622 F.2d 830, 844 (5th Cir. 1980) (en banc).

  In addition, a number of courts, including the Eleventh Circuit, have determined that the Leon good

  faith exception applies to those searches conducted on an order rather than warrant. See United

  States v. Davis, 785 F.3d 498, 518, n.20 (11th Cir.), cert. denied, 136 S. Ct. 479, 193 L. Ed. 2d 349

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  (2015) (“In the alternative, we hold that the prosecutors and officers here acted in good faith and

  therefore, under the well-established Leon exception, the district court’s denial of the motion to

  suppress did not constitute reversible error”); United States v. Katzin, 769 F.3d 163, 167 (3d Cir.

  2014), cert. denied, 135 S. Ct. 1448 (2015) (en banc); United States v. Cooper, No. 13-CR-00693-

  SI-1, 2015 WL 881578, at *3 (N.D. Cal. Mar. 2, 2015); United States v. Alvarez, No. 14-CR-00120-

  EMC, 2016 WL 3163005, at *5 (N.D. Cal. June 3, 2016); United States v. Giddins, 57 F.Supp.3d

  481, 495 (N.D. Md. Sept. 30, 2014).

         The Government bears the burden of demonstrating the applicability of the Leon good faith

  exception. See United States v. Travers, 233 F.3d 1327, 1331 n.2 (11th Cir. 2000).

         At the hearing, the Government argued that the Leon good-faith exception would apply in

  these circumstances. That is, the Government argued that despite the lack of warrant and showing

  of probable cause, the officers here acted in good faith upon orders issued by the state court in

  accordance with the established standard. Thus, they claim the exclusion of evidence in the

  circumstances is unwarranted.

         In response to this argument, Defendant Harris’s counsel urged that these officers knew full

  well that tracking devices required a warrant9 and they acted with intentional bad faith to bypass the

  warrant requirement by using the pen/trap applications as a vehicle for court approval for conducting

  illegal searches.

         As discussed above, the objectively ascertainable question is whether a reasonably well

  trained officer would have known that the search was illegal despite the state judges’ authorization.



         9
          The Jones decision by the Supreme Court, cited in the initial Report and
  Recommendation, was issued in 2012 and made clear that realtime GPS tracking of automobiles
  was a search requiring a warrant. United States v. Jones, 132 S.Ct. 945 (2012).

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  Based on the record before the Court, I am obliged to conclude the officers would not have known

  that the seizures of realtime location information in this fashion pursuant to pen/trap authorizations

  were illegal. At the time of these applications, neither the Florida Supreme Court nor the United

  States Supreme Court had explicitly spoken on this issue.10 Indeed, the U.S. Supreme Court still has

  not weighed in on this type of tracking.

         According to Detective Petta’s testimony at the July 21 hearing, the realtime authorizations

  were obtained in the usual way and in accordance with the established practice in that circuit at that

  time.11 While Defendants argue to the contrary, they offer no contrary evidence, and I am obliged

  to find the detective’s testimony supports a finding of good faith.

         Furthermore, none of the exceptions to the Leon good faith doctrine apply here. First, there

  is no indication that the factual allegations in the application are false or demonstrate reckless

  disregard for the truth. Second, there is no indication that state court judges abandoned their

  detached and neutral role. Third, the Government was not dishonest or reckless in preparing its

  application. Law enforcement could hold an objectively reasonable belief that the orders were valid

  because case law arguably supported the Government’s position at the time that it sought the order.

  Cf. United States v. Brunette, 256 F.3d 14, 19-20 (1st Cir. 2001) (finding reliance on a warrant was

  objectionably reasonable where the state of the law was uncertain). And finally, applying the



         10
           As this Court noted previously, the Florida Supreme Court decided Tracey v. Florida,
  152 So. 3d 504 (Fla. 2014) after the applications and orders at issue here. Tracey expressly
  addressed the realtime monitoring of cell site location information and held that the use of this
  location information in order to track him in real time was a search within the purview of the
  Fourth Amendment.
         11
           Such appears no longer the practice. As the detective acknowledged, the Florida
  Supreme Court’s subsequent decision in Tracey requiring a warrant for realtime cell phone
  tracking now dictates the practice.

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  standard that the officers apparently believed was sufficient, the applications were not so facially

  deficient that they could not reasonably presume it to be valid.

         As such, assuming arguendo that all three of these Defendants here establish standing, the

  Leon good faith exception applies and dictates that their motions to suppress be denied.

                                                  III.

         Accordingly, for the reasons stated above, I RECOMMEND that the construed motions for

  reconsideration (Docs. 1022, 1023, and 1038) be DENIED.

                                                Respectfully submitted on
                                                this 31st day of July 2016.




               NOTICE TO PARTIES OF EXPEDITED OBJECTION PERIOD

         Failure to file written objections to the proposed findings and recommendations contained

  in this report within two days (or as otherwise directed by the district judge) from the date of its

  service shall bar an aggrieved party from attacking the factual findings on appeal. 28 U.S.C. §

  636(b)(1).



  Copies furnished to:
  The Honorable Elizabeth A. Kovachevich, United States District Judge
  Counsel of record




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